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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

                            Plaintiff,

       v.                                                 Criminal Action No. 1:06cr80-1
                                                                              (Maxwell)

TYRONE A. LEWIS,
a/k/a “New York” a/k/a “Ty,”

                            Defendant.

                                          ORDER

       It will be recalled that the Defendant, Tyrone A. Lewis, was one of two

defendants named in a seven-count superseding indictment, which indictment was

returned in the United States District Court for the Northern District of West Virginia at

the Clarksburg point of holding Court on March 6, 2007. On May 23, 2007, Defendant

Tyrone A. Lewis entered a plea of guilty before Magistrate Judge John S. Kaull to Count

Three of the Superseding Indictment. Also on May 23, 2007, the plea agreement

entered into by the Defendant and a Waiver of Article III Judge and Consent to Enter a

Guilty Plea Before U.S. Magistrate Judge were filed with the Court. On May 25, 2005,

Magistrate Judge Kaull filed with the Court his Report and Recommendation regarding

the May 23, 2007 change of plea proceedings, wherein the parties were directed, in

accordance with 28 U.S.C. § 636(b)(1), to file with the Clerk of Court any written

objections within ten (10) days after being served with a copy of the Report and

Recommendation. On May 29, 2007, the Government filed a response to the

Magistrate’s Report and Recommendation stating that it has no objections. No

objections or other responses have been received.
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       Upon examination of the Report and Recommendation from the Magistrate

Judge, the Plea Agreement filed with the Court, and the Waiver of Article III Judge and

Consent filed with the Court, it appears to the Court that all matters raised and

suggested by Magistrate Judge Kaull in his Report and Recommendation are

appropriate. The Court further finds, based upon its review, that a factual basis existed

for said plea, that the plea was made freely and voluntarily, and that the Defendant

understood the nature of the charges and the consequences of his plea of guilty before

the Magistrate Judge. Therefore, it is hereby

       ORDERED that the Magistrate Judge’s Report and Recommendation shall be,

and the same hereby is, accepted in whole, adopted by this Court, and incorporated

herein. It is further

       ORDERED that, based upon the aforementioned findings, the Defendant’s plea

of guilty to Count Three of the Indictment shall be, and the same hereby is accepted.

The Court hereby finds the Defendant GUILTY as charged in Count Three of the

Superseding Indictment in the above-styled criminal action. It is further

       ORDERED that acceptance of the plea agreement, any stipulations contained in

the Plea Agreement, and the binding and nonbinding recommendations contained

therein shall be, and the same hereby are, deferred until the Court has received and

reviewed the Presentence Report, which Magistrate Judge Kaull directed the Probation

Officer to prepare in this matter. In this regard, it is further

       ORDERED that the Government and the Defendant shall provide their Versions

of the Offense to the Probation Officer and advise the Probation Officer with regard to

any sentencing factors that might require special review on or before July 11, 2007.

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        Based upon the request of the parties and the recommendation of the Magistrate

Judge, a sentencing hearing in this matter shall not be conducted prior to November 1,

2007.

        The Clerk of the Court is directed to transmit certified copies of this Order to

Counsel for the United States, to Counsel for Defendant, and to the Probation Office.

        ENTER: June 26th , 2007

                                                           /s/ Robert E. Maxwell
                                                          United States District Judge




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